           Case 1:16-cv-01534-JEB Document 570 Filed 11/02/20 Page 1 of 3




                      IN THE UNITED STATES DISTRICT COURT FOR
                             THE DISTRICT OF COLUMBIA

                                                      )
STANDING ROCK SIOUX TRIBE,                            )
                                                      )
         Plaintiff,                                   )
                                                      )
and                                                   )
                                                      )
CHEYENNE RIVER SIOUX TRIBE,                           )
                                                      )
         Plaintiff-Intervenor,                        )
                                                      )
v.                                                    )      Case No. 1:16-cv-01534 (JEB)
                                                      )       (consolidated with Cases No.
UNITED STATES ARMY CORPS OF                           )     1:16-cv-01796 & 1:17-cv-00267)
ENGINEERS,                                            )
                                                      )
         Defendant,                                   )
                                                      )
and                                                   )
                                                      )
DAKOTA ACCESS, LLC,                                   )
                                                      )
         Defendant-Intervenor.                        )
                                                      )


            UNITED STATES ARMY CORPS OF ENGINEERS’ NOTICE
        REGARDING THE ENVIRONMENTAL IMPACT STATEMENT PROCESS


         On August 10, 2020, the United States Army Corps of Engineers (“Corps”) reported to

this Court that it expected to take thirteen months from the Corps’ Notice of Intent to complete

the Environmental Impact Statement (“EIS”) ordered by this Court. Transcript of August 10,

2020 Hearing at 10:10-16. The Corps hereby provides an update regarding the status and timing

of its EIS process.

      1. As part of the EIS process, on September 10, 2020, the Corps issued its Notice of Intent

To Prepare an Environmental Impact Statement for an Easement to Cross Under Lake Oahe,
                                                  1
         Case 1:16-cv-01534-JEB Document 570 Filed 11/02/20 Page 2 of 3



North Dakota for a Fuel-Carrying Pipeline Right-Of-Way for a Portion of the Dakota Access

Pipeline in the Federal Register. Since then, Corps has also been conferring with Dakota Access,

LLC, and has been collecting information to inform in its analysis.

   2. In conferring with Dakota Access, LLC, the Corps has had several discussions regarding

Dakota Access’s request for potential optimization of the pipeline to increase the pipeline’s flow

rate capacity. See Dakota Access, LLC’s Reply to Plaintiffs’ Status Report at 2 (Sept. 9, 2020)

(Potential doubling of pipeline capacity irrelevant to the pipeline’s current operation “because no

increase in the pipeline’s capacity has been approved, nor would it take effect in the near

future.”). The Corps intends to consider this optimization request as part of the EIS process.

   3. The Corps also extended the public scoping period for the EIS by one month—to

November 26, 2020—in response to numerous requests, including a request by Plaintiff Standing

Rock Sioux Tribe. Scoping Period Extension for Envtl. Impact Statement for an Easement to

Cross Under Lake Oahe, North Dakota for a Fuel-Carrying Pipeline Right-of-Way for a Portion

of the Dakota Access Pipeline, 85 Fed. Reg. 67530 (Oct. 23, 2020).

   4. While the Corps does not anticipate that the EIS process will be protracted, its initial

analysis of the potential optimization is that it will impact the timeline. The Corps anticipates

that the EIS process may take more than the thirteen months the Corps originally projected, but

the Corps has not finished its review of potential impacts to the timeline or settled on a revised

timeline. The Corps will provide the Court with the latest information regarding this issue when

it files its opposition to Plaintiffs’ motion for preliminary injunction on November 20, 2020.

Dated: November 2, 2020                       Respectfully submitted,

                                              PAUL E. SALAMANCA
                                              DEPUTY ASSISTANT ATTORNEY GENERAL
                                              United States Department of Justice
                                              Environment & Natural Resources Division
                                                 2
         Case 1:16-cv-01534-JEB Document 570 Filed 11/02/20 Page 3 of 3




                                               By: Reuben S. Schifman
                                               REUBEN SCHIFMAN, NY BAR
                                               MATTHEW MARINELLI, IL Bar 6277967
                                               U.S. Department of Justice
                                               Natural Resources Section
                                               P.O. Box 7611
                                               Benjamin Franklin Station
                                               Phone: (202) 305-4224 (Schifman)
                                               Phone: (202) 305-0293 (Marinelli)
                                               Fax: (202) 305-0506
                                               reuben.schifman@usdoj.gov
                                               matthew.marinelli@usdoj.gov

                                               Attorneys for the United States Army Corps of
                                               Engineers


OF COUNSEL:
MILTON BOYD
MELANIE CASNER
U.S. Army Corps of Engineers
Office of Chief Counsel
Washington, DC




                                  CERTIFICATE OF SERVICE

       I, Reuben S. Schifman, hereby certify that on November 2, 2020, I electronically filed the

foregoing with the Clerk of the Court using the CM/ECF system, and copies will be sent

electronically to the registered participants as identified in the Notice of Electronic Filing.


       /s/ Reuben Schifman___
       REUBEN S. SCHIFMAN




                                                   3
